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                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
IN THE MATTER OF:                    :
                                     :
CRAIG ANTHONY ALEXANDER,             :        CASE NUMBER: 19-53144-sms
                                     :
      Debtor.                        :        CHAPTER 7
____________________________________ :____________________________________
                                     :
NANCY J. GARGULA, UNITED             :
STATES TRUSTEE,                      :
                                     :
      MOVANT,                        :        CONTESTED MATTER
                                     :
vs.                                  :
                                     :
CRAIG ANTHONY ALEXANDER,             :
                                     :
      RESPONDENT.                    :

                       RESPONSE IN OPPOSITION TO
                    MOTION TO DISMISS CASE FOR CAUSE

       COMES NOW Craig Anthony Alexander, Debtor, and responds in opposition to

Motion to Dismiss Case for Cause (the “Motion”) filed by Nancy J. Gargula, United States

Trustee for Region 21, on the basis that Movant has not established cause for the dismissal

of Debtor’s case.

       WHEREFORE, Craig Anthony Alexander respectfully requests that the Court deny

the Motion.

       Respectfully submitted this 10th day of September 2019.

                                          THE ROTHBLOOM LAW FIRM

                                          /S/

                                         HOWARD D. ROTHBLOOM
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                                      Georgia Bar No. 915670
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IN THE MATTER OF:                    :
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CRAIG ANTHONY ALEXANDER,             :        CASE NUMBER: 19-53144-sms
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NANCY J. GARGULA, UNITED             :
STATES TRUSTEE,                      :
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      MOVANT,                        :        CONTESTED MATTER
                                     :
vs.                                  :
                                     :
CRAIG ANTHONY ALEXANDER,             :
                                     :
      RESPONDENT.                    :

                                CERTIFICATE OF SERVICE

       This is to certify that I have this day filed a true and correct copy of the within and

foregoing Response in Opposition to Motion to Dismiss Case For Cause with the Clerk of

Court using the CM/ECF system which will automatically send e-mail notification of

such filing to the following:

                         Nancy J. Gargula, United States Trustee

                 Lindsay P.S. Kolba, Office of the United States Trustee

       This 10th day of September 2019.

                                           THE ROTHBLOOM LAW FIRM

                                           /S/

309 E. Paces Ferry Road, NE                HOWARD D. ROTHBLOOM
Suite 400                                  Georgia Bar No. 915670
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